                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

EARLENE PETERSON, et al.                             )
                                                     )
                             Plaintiffs,             )
                                                     )
                        v.                           )     No. 2:20-cv-00350-JMS-DLP
                                                     )
WILLIAM P. BARR, et al.                              )
                                                     )
                             Defendants.             )

          Order Denying Motions to Stay Preliminary Injunction Pending Appeal

       The defendants' motions to stay preliminary injunction pending appeal, dkt. [23], and

amended motion to stay preliminary injunction pending appeal, dkt. [28], are denied. The Court

recognizes the cost to the government of delaying an execution, but the Court finds no reason to

suspend the preliminary injunction pending appeal.

IT IS SO ORDERED.

Date: 7/10/2020




Distribution:

Howard Baker Kurrus
H. Baker Kurrus, PLLC
bkurrus@aol.com

Shelese M. Woods
UNITED STATES ATTORNEY'S OFFICE (Indianapolis)
shelese.woods@usdoj.gov
